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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                     Plaintiff,                                 8:17CR286

          v.
                                                                  ORDER
ANA KARLA RODRIGUEZ-TORREZ,

                     Defendant.


      This matter is before the Court on defendant Ana Karla Rodriguez-Torrez’s
(“Rodriguez-Torrez”) Motion to Dismiss for Outrageous Government Conduct and
Request for Hearing (Filing No. 259). According to Rodriguez-Torrez, the government
has outrageously filed charges against her for money laundering “based upon ‘guilt by
association’” without an adequate investigation or sufficient evidence to convict her. The
government filed a thorough response (Filing No. 261) denying any misconduct and
contending Rodriguez-Torrez’s motion is wholly without merit.

      On September 21, 2018, the magistrate judge 1 issued a Findings and
Recommendation (Filing No. 266) pursuant to 28 U.S.C. § 636(b)(1) recommending the
Court deny Rodriguez-Torrez’s motion without an evidentiary hearing. The magistrate
judge identified three plausible grounds for denying the motion: (1) it was untimely and
Rodriguez-Torrez failed to seek leave before filing the motion or show good cause for the
almost six-month delay, see NECrimP 12.3(a); (2) Rodriguez-Torrez did not file a
supporting brief as required by NECrimP 12.3(b)(1), permitting the Court to consider the
motion abandoned; and (3) Rodriguez-Torrez failed to present “facts raising even a
colorable outrageous government conduct claim.” Opting for the third grounds and quoting



      1
       The Honorable Michael D. Nelson, United States Magistrate Judge for the District
of Nebraska.
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United States v. Swiatek, 819 F.2d 721, 725 (7th Cir. 1987), the magistrate judge
recommends denying Rodriguez-Torrez’s without an evidentiary hearing because she
failed “to raise a significant doubt about the propriety of the government’s actions.”

       Section 636(b)(1) requires the Court to review de novo any “specified proposed
findings or recommendations to which objection is made.” Absent such an objection,
however, further review is unnecessary. See Peretz v. United States, 501 U.S. 923, 939
(1991). Failing to object “eliminates not only the need for de novo review, but any review
by the district court.” Leonard v. Dorsey & Whitney LLP, 553 F.3d 609, 619-20 (8th Cir.
2009) (citing Thomas v. Arn, 474 U.S. 140, 150 (1985)); see also Fed. R. Crim. P. 59 (a),
(b)(2) (explaining the failure to timely object waives the right to review); NECrimR
59.2(a), (e).

       Here, the magistrate judge reminded the parties they had fourteen days to object to
his findings and recommendation and that failing to do so could constitute a waiver.
Neither party objected within the time permitted, so further review is unnecessary. See
Peretz, 501 U.S. at 939. Accordingly,

       IT IS ORDERED:
       1.       The magistrate judge’s Findings and Recommendation (Filing No. 266) are
                accepted in their entirety. Any objections are deemed waived.
       2.       Defendant Ana Karla Rodriguez-Torrez’s Motion to Dismiss for Outrageous
                Government Conduct and Request for Hearing (Filing No. 259) is denied.


       Dated this 11th day of October 2018.


                                                  BY THE COURT:



                                                  Robert F. Rossiter, Jr.
                                                  United States District Judge

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